      Case 8:12-cr-00624-DKC       Document 291       Filed 04/16/14    Page 1 of 11



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

                                          :
UNITED STATES OF AMERICA
                                          :

        v.                                :    Criminal No. DKC 12-624

                                          :
SEAN VITHIDKUL
                                          :

                                          :

                                  MEMORANDUM OPINION

        The government has filed a motion to strike or, in the

alternative,       to    permit    discovery    in     this    criminal     forfeiture

case.        (ECF No. 290).1       Also pending are three motions to seal

amended petitions filed by Derek Vithidkul, Amanda Vithidkul,

and Chooi Wan Kong.            (ECF Nos. 284, 285, 286).           Given the timing

requirements of the governing law, it is not necessary to await

any   response.          For    the   following      reasons,     the     Government’s

motion for discovery will be granted.                   Further, counsel for the

claimants       will    have    seven   (7)    days     to    submit    memoranda      in

support of the motions to seal and suggest redacted versions of

the amended petitions to be released for the public record.

I.      Background

        On May 30, 2013, Sean Vithidkul pled guilty to one count of

conspiracy to distribute and possess with intent to distribute

        1
       Although the claimants were initially pro se, they are now
represented by counsel.
     Case 8:12-cr-00624-DKC              Document 291      Filed 04/16/14     Page 2 of 11



100 kilograms or more of marijuana in violation of 21 U.S.C. §

846, and one count of money laundering conspiracy in violation

of   18      U.S.C.      §     1956(h).         (ECF    No.   143).         The    undersigned

sentenced Mr. Vithidkul to sixty-six (66) months in prison on

August       12,       2013.      (ECF    No.    216).        On   August     7,     2013,   the

Government filed a motion for forfeiture pursuant to 21 U.S.C. §

853 and 18 U.S.C. § 982(a)(1), which was entered on August 12,

2013.        (ECF Nos. 215 & 216-1).                  The forfeiture order covers the

following items: (1) $57,275; (2) Maxtor Hard Drive; (3) Western

Digital Hard Drive; (4) T-Mobile cellular phone; (5) Samsung

cell phone; (6) Kingston thumb drive; (7) Nokia cellular phone;

(8) Coolpix digital camera; (9) compact disks, DVDs, diskettes;

(10) Ipod; (11) Apple Iphone A1332; (12) Apple Iphone A1241;

(13) Blackberry pearl cellular phone; (14) Blackberry 9700; and

(15) Dell Inspiron E1405 Laptop.                       (ECF No. 215, at 2).

        On    January          24,    2014,      the     court     received        third-party

petitions from Chooi Wan Kong (ECF No. 265), Amanda Vithidkul

(ECF No. 267), and Derek Vithidkul (ECF No. 268), asserting

interest in some of the seized currency and assets.                                  Chooi Wan

Kong, Mr. Vithidkul’s mother, submitted a letter stating a claim

to $4,000.             (ECF No. 264).           Amanda Vithidkul, Mr. Vithidkul’s

sister, submitted a claim for $9,400 of currency and a Nikon

digital camera.              Derek Vithidkul submitted a claim for $7,000 of

currency,          a    Samsung      Galaxy     cell    phone,     and   a    Dell    inspiron

                                                  2
      Case 8:12-cr-00624-DKC      Document 291    Filed 04/16/14     Page 3 of 11



laptop.     (ECF No. 268).         The Government moved to strike or, in

the   alternative,     to   permit      discovery.        (ECF     No.   272).       By

memorandum     opinion      and    order     dated       March     12,   2014,      the

undersigned granted in part the Government’s motion.                      (ECF Nos.

275 & 276).      The undersigned found claimants’ petitions “devoid

of factual details as to how they obtained possession of the

respective currency and the seized assets, the person(s) from

whom they received the currency and assets, the place of the

receipt, and description of the transaction(s) which generated

the currency or assets in which they assert property interests.”

(ECF No. 276, at 7).           Thus, the claimants were ordered to file

amended verified petitions within twenty-one (21) days to comply

with 21 U.S.C. § 853, and the Government was given ten (10) days

from the date of the respective amended petitions to file any

authorized    motion     and   inform    the     court    whether     discovery      is

necessary before a hearing.

      Derek    Vithidkul,      Amanda    Vithidkul,        and   Chooi    Wan       Kong

submitted amended petitions on April 2, 2014.                      (ECF Nos. 280,

281, 282).      On April 14, 2014, the Government moved to strike

or, in the alternative, to permit discovery.                       (ECF No. 290).

The claimants moved to seal their amended petitions in their

entirety.     (ECF Nos. 284, 285, 286).




                                         3
       Case 8:12-cr-00624-DKC          Document 291        Filed 04/16/14        Page 4 of 11




II.    Analysis

       A.     The Government’s Motion

       In a criminal forfeiture action, property is subject to

forfeiture pursuant to 21 U.S.C. § 853.                        Pursuant to 21 U.S.C. §

853(n)(2),         a    third     party      wishing      to   assert       an     interest      in

property subject to a preliminary order of criminal forfeiture

must timely petition for adjudication of that interest.                                  Section

853(n)(3)      sets       forth       what   must    be     included     in       the   verified

petition:

              The   petition  shall   be   signed  by  the
              petitioner under penalty of perjury and
              shall set forth the nature and extent of the
              petitioner’s right, title, or interest in
              the property, the time and circumstances of
              the petitioner’s acquisition of the right,
              title or interest in the property, any
              additional facts supporting the petitioner’s
              claim, and the relief sought.

21 U.S.C. § 853(n)(3).

       The Government argues that the amended petitions should be

stricken for several reasons.                        First, the Government asserts

that    the    amended        petitions       fail    to    comply     with       21    U.S.C.   §

853(n)(3) because none of the petitions are verified.                                   (See ECF

Nos. 280-2, at 2, 281-1, at 2, & 282-2, at 2).                                The Government

acknowledges           that     the    original      petitions       were        signed     under

penalty       of       perjury    as     mandated      by      Section      853(n)(3),          but

correctly points out that the amended petitions are deficient

                                                4
       Case 8:12-cr-00624-DKC           Document 291          Filed 04/16/14    Page 5 of 11



insofar      as       they     are    signed    by     the    claimants,       but     not   under

penalty of perjury.                  Accordingly, claimants will have seven (7)

days    to    cure          this     deficiency       and    resubmit      their     petitions,

signed under penalty of perjury.

       Next,          the    Government        argues       that   the    amended      petitions

still are “insufficiently particular” and fail to comply with

Section 853.                Derek Vithidkul claims entitlement to $7,000 of

currency,         a    Samsung        Galaxy    cell    phone,      and    a    Dell    inspiron

laptop.        In support of his claim for $7,000, Derek Vithidkul

submits      bank           records    which     he     believes      “show      a   consistent

pattern      of        withdrawals       from     approximately           December      2007     to

August 2011, and another withdrawal in August 2012, the last

withdrawal immediately prior to the seizure of the funds in

question.”            (ECF No. 280, at 4).               Derek Vithidkul asserts that

“[t]his pattern of withdrawals corresponds with Mr. Vithidkul’s

regular employment in his first job, which [he] began in May

2008.”       (Id.).           Derek Vithidkul avers that he “simply desired

half of [his] money at home and half of it in the bank.                                        [He]

did not want 100% of [his] money in any bank.”                                 (ECF No. 280-2,

at 2).       Amanda Vithidkul, who claims property rights to $9,400

of the seized currency, offers a similar affidavit.                                     She also

submits bank records from September 2008 to November 2012, and

states that “there is a period of 20 months (March 2011 to

November 2012) where [she] made at least one cash withdrawal per

                                                  5
      Case 8:12-cr-00624-DKC      Document 291      Filed 04/16/14     Page 6 of 11



month.”     (ECF No. 281-1, at 2).              Amanda Vithidkul further avers

that she started withdrawing money as soon as she started her

first    job   in    January     2011.      As     the    Government     points       out,

neither    claimant        identifies     their    employer       or   income.        See,

e.g., United States v. Hailey, 924 F.Supp.2d 648 (D.Md. 2013)

(finding    insufficient         claims    that    several    assets     derive       from

claimant’s       employment,      without       specifying       the   employment       or

whether it is connected with defendant’s offenses).                        In support

of their money claims, Derek and Amanda Vithidkul also submit

signed documents from their relatives, Joanna Kong and Chooi L.

Kong.     Joanna Kong and Chooi Kong indicate that they each gave

$1,200 to Derek and Amanda Vithidkul in cash gifts for holidays

such as Chinese New Year, birthdays, and Christmas from January

2005 to November 2012.            (See ECF Nos. 280-3, 280-4, 281-2, 281-

3).     Finally, the third claimant, Chooi Wan Kong, seeks $4,000,

which she also asserts was earned through previous employment.

Chooi    Wan   Kong       similarly     includes   bank    statements      indicating

withdrawals,        and    -   unlike    Amanda    and    Derek    Vithidkul      -   she

provides copies of W-2 statements from 2007, 2009, 2010, and

2012,    which    identify       her    employer    and    the    amount   of    income

earned.     She recognizes, however, that the list of transactions

she submits in support of her claim for $4,000 actually totals

$3,680.



                                            6
      Case 8:12-cr-00624-DKC         Document 291        Filed 04/16/14    Page 7 of 11



        The Government argues that for all three amended petitions,

“the documents submitted with the amended petitions are outdated

and irrelevant bank statements that do not demonstrate that the

cash withdrawals, for example in 2007, actually involve the cash

that was found in a safe in Maryland in 2012.”                          (ECF No. 290, at

7) (emphasis in original).               The Government contends that “[j]ust

because the petitioners at one point or another over the course

of their lives may have had in their possession amounts of money

roughly equaling the claimed funds does not establish any link –

any   temporal        or    locational     nexus     –    with    the     seized   funds.”

(Id.) (emphasis in original).                As for the other items over which

the claimants assert ownership - specifically Derek Vithidkul’s

claim to the Dell Inspiron laptop and Amanda Vithidkul’s claim

to    the    Nikon    digital       camera    -    the    claimants       again    fail    to

provide any facts to support their claims to this property.                               For

instance, Derek Vithidkul merely states that the “Dell Inspiron

computer [] was taken from the floor of his bedroom when the

assets were seized” and that this was “solely his property.”

(ECF No. 280, at 4).               As for the Galaxy nexus cell phone, Derek

Vithidkul provides two emails from “Google Play,” which reflect

that Galaxy Nexus HSPA+ was ordered on October 17, 2012 and was

being       shipped    to    Derek    Vithidkul.           (ECF    No.    280-1).         The

Government      points       out    that     the   documents       do     not   state     the

identity of the purchaser, just that the phone would be shipped

                                              7
     Case 8:12-cr-00624-DKC      Document 291        Filed 04/16/14    Page 8 of 11



to   Derek   Vithidkul.         (ECF    No.   290,       at   9).     The    Government

further argues that:

             [t]here is no indication that the receipt is
             for the seized telephone, as opposed to any
             other one of the common type of phone. Nor,
             in the absence of any allegation, much less
             factual support, that Derek Vithidkul paid
             for the seized phone, was the subscriber for
             the seized phone, or paid the monthly
             service bills for the seized phone, has
             Derek Vithidkul stated a claim upon which
             relief can be granted under § 853(n).

(Id. at 10).        The Government argues that the claims should be

stricken     because     they    still    lack      the       level   of    specificity

required under Section 853(n).                Alternatively, the Government

requests     that   it   be     permitted     to    serve       the   claimants       with

appropriate discovery.

      Permitting discovery is the more appropriate course at this

stage of the proceedings.           Fed.R.Crim.P. 32.2 states that before

conducting a hearing on a third-party petition in an ancillary

forfeiture    proceeding,        “the    court     may    permit      the    parties    to

conduct discovery in accordance with the Federal Rules of Civil

Procedure if the court determines that discovery is necessary or

desirable      to      resolve      factual        issues.”                Fed.R.Crim.P.

32.2(c)(1)(B).2        The Government contends that the claimants have


      2
       Rule 32.2 was adopted to supplement the statutory scheme
for determining third-party claims, as “[e]xperience has shown
that   ancillary  hearings  can  involve   issues  of  enormous
complexity that require years to resolve” and “[i]n such cases,
procedures akin to those available under the Federal Rules of
                                          8
       Case 8:12-cr-00624-DKC          Document 291        Filed 04/16/14   Page 9 of 11



not    provided      sufficient         information        about    their     claims.      It

appears that there are factual issues to be resolved, including

but not limited to: the source of funds to Derek and Amanda

Vithidkul;        the    basis    of     Derek      Vithidkul’s       ownership       of   the

Galaxy nexus cell phone and Dell Inspiron laptop and Amanda

Vithidkul’s claim to the Nikon digital camera; and clarification

of Chooi Wan Kong’s claim to $4,000 (given that the list of

transactions she submits total $3,680).                        The Government requests

that    it   be     allowed      to    serve     the      claimants    with     appropriate

discovery, including interrogatories, requests for production of

documents, and requests for admission.                          (ECF No. 290, at 11).

It is desirable that evidence on the factual issues be disclosed

via discovery before a hearing.                      See Hailey, 924 F.Supp.2d at

659 (permitting the parties to conduct discovery before holding

an    ancillary      hearing      in    a    criminal       forfeiture      case);    United

States v. Bailey, Criminal No. 1:11cr10, 2011 WL 2414231, at *2

(W.D.N.C. June 10, 2011) (allowing the parties to engage in

discovery      in       accordance       with       the     Federal     Rules    of     Civil

Procedure for sixty days).                  Accordingly, the Government’s motion

will be granted to the extent it requests discovery.

          B. Claimants’ Motions to Seal



Civil Procedure should be available to the court and the parties
to   aid   in   the  efficient   resolution    of   the claims.”
Fed.R.Crim.P. 32.2(c) advisory committee’s note; see also United
States v. Salti, 579 F.3d 656, 662 n.4 (6th Cir. 2009).
                                                9
     Case 8:12-cr-00624-DKC    Document 291            Filed 04/16/14        Page 10 of 11



         Claimants filed three identical motions to seal pursuant

to   Fed.R.Crim.P.      49.1(d).         The     court       is    authorized         to    seal

documents filed in a criminal case.                          See Rule 49.1(d) (“The

court    may   order    that   a       filing     be    made       under      seal    without

redaction [and] may later unseal the filing[.]”).                              Rule 49.1(d)

further states that “[t]he court may later unseal the filing or

order the person who made the filing to file a redacted version

for the public record.” (emphasis added).                         Here, claimants seek

to seal in their entirety the amended petitions in support of

their    claims     for    seized        assets        and     related         attachments.

Claimants’ counsel states that “[t]he aforementioned materials

contain, in whole or in part, identifying information, dates of

birth,   financial      account        numbers,    and       home      addresses       of    the

Petitioner     and/or     other    affiants.”             (ECF         No.    286,    at     1).

Although, as the Government points out, some of the documents

included as exhibits to the amended petitions contain personally

identifying     information,       it    is     improper          to   keep    the    amended

petitions      under    seal      in     their     entirety.                 For     instance,

Defendants’ counsel does not provide any reason for sealing the

memoranda in support of the amended petitions.                                 Accordingly,

counsel for the three claimants will have seven (7) days to file

memoranda      in   support       of     the     motions          to    seal,        proposing

appropriate redactions to the amended petitions and including

copies of the documents in redacted form.

                                           10
   Case 8:12-cr-00624-DKC            Document 291        Filed 04/16/14    Page 11 of 11



III. Conclusion

       For the foregoing reasons, the Government’s motion will be

granted in part.                Derek Vithidkul, Amanda Vithidkul, and Chooi

Wan Kong will have seven (7) days to submit verified petitions

signed under penalty of perjury.                         Counsel for claimants will

have       seven    (7)     days   to   submit     memoranda       in     support     of    the

motions       to        seal,    suggesting    appropriate         redactions         to    the

verified amended petitions.                   The parties will then have sixty

(60) days from the date of the verified petitions to engage in

discovery          in     accordance    with       the    Federal       Rules    of        Civil

Procedure.         When discovery ends, the parties will have seven (7)

days to submit a joint status report indicating whether they

plan to file any dispositive motions.3                         A separate order will

follow.



                                                     /s/
                                           DEBORAH K. CHASANOW
                                           United States District Judge




       3
       Fed.R.Crim.P. 32.2(c)(1)(B) states that “[w]hen discovery
ends, a party may move for summary judgment under Federal Rule
of Civil Procedure 56.”
                                              11
